
PER CURIAM.
Affirmed. The sole issue raised on appeal concerns the propriety of appellant’s sentence under Villery v. Florida Parole &amp; Probation Commission, 396 So.2d 1107 (Fla.1981). This point appears to have been raised for the first time on appeal, and because Villery suggests that our supreme court contemplated that this issue be brought to the attention of the trial court in the first instance, we do not consider it on this appeal. However, this affirmance is without prejudice to appellant’s raising this issue in the trial court by filing a motion pursuant to Florida Rule of Criminal Procedure 3.850.
HOBSON, Acting C. J., and BOARD-MAN and GRIMES, JJ., concur.
